           Case 2:11-cr-00190-KJM Document 341 Filed 08/28/17 Page 1 of 4


     MICHAEL B. BIGELOW
 1   Attorney at Law
     State Bar No. 65211
 2   331 J Street, Suite 200
     Sacramento, CA 95814
 3   Telephone: (916) 443-0217
     Email:LawOffice.mbigelow@gmail.com
 4
     Attorney for Defendant
 5   Nicholas Ramirez
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                     )   Case No. Cr.S 11-190 MCE
     UNITED STATES OF AMERICA,         )
10                                     )   STIPULATION TO CONTINUE
                 Plaintiff,            )   STATUS
11                                     )
          vs.                          )   ORDER
12   NICHOLAS RAMIREZ,                 )
     TIFFANY BROWN                     )
13                                     )
                 Defendant             )
14                                     )
15
                                   STIPULATION
16
         Plaintiff United States of America, by and through its
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     counsel of record, and the defendant’s herein, by and through
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19
     their counsel of record, hereby stipulates as follows:

20       By previous order, this matter was set for status on August

21   31, 2017.

22       By this stipulation, defendants now move to continue the

23   status conference until November 30, 2017, and to exclude time
24   between August 31, 2017 and November 30, 2017 under Local Code
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     T4. Plaintiff agrees with this request.



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           Case 2:11-cr-00190-KJM Document 341 Filed 08/28/17 Page 2 of 4


         Counsel for defendants desire additional time to review
 1
     documents and to consult with their clients in efforts to
 2
     resolve this case. The government has agreed it should have a
 3

 4   plea agreement by then and counsel should have had an

 5   opportunity to discuss it with his client.

 6       The government agrees to the continuance.

 7       Based on the above-stated findings, the ends of justice

 8   served by continuing the case as requested outweigh the interest
 9   of the public and the defendant in a trial within the original
10
     date prescribed by the Speedy Trial Act.
11
         For the purpose of computing time under the Speedy Trial
12
     Act, 18 U.S.C. § 3161, et seq., within which trial must
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     commence, the time period of August 31, 2017, to November 30,
14
     2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§
15
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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     continuance granted by the Court at defendant’s request on the
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     basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and

20   the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).

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           Case 2:11-cr-00190-KJM Document 341 Filed 08/28/17 Page 3 of 4


         Nothing in this stipulation and order shall preclude a
 1
     finding that other provisions of the Speedy Trial Act dictate
 2
     that additional time periods are excludable from the period
 3

 4   within which a trial must commence.

 5

 6   DATED: August 24, 2017                   Respectfully submitted

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 8                                            /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
 9                                            Attorney for Nicholas Ramirez
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              Case 2:11-cr-00190-KJM Document 341 Filed 08/28/17 Page 4 of 4



 1   IT IS SO STIPULATED
 2
     /S/ JASON HITT
 3
     Jason Hitt, Esq.,                               Dated: August 24, 2017
 4   Assistant United States Attorney
     Attorney for Plaintiff
 5

 6
     /S/MICHAEL B. BIGELOW                           Dated: August 24, 2017
 7   Michael B. Bigelow
     Attorney for Defendant
 8   Nicholas Ramirez
 9   /s/Dina Santos
     Dina Santos,                                    Dated: August 24, 2017
10
     Attorney for
11
     Tiffany Brown

12

13                                         ORDER

14       IT IS SO ORDERED.

15   Dated:     August 28, 2017

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